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7
                       IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )         No. 1:10-CR-00131-AWI
11                                   )
                    Plaintiff,       )         STIPULATION RE: CONTINUANCE
12                                   )         AND ORDER
          v.                         )
13                                   )
     NOLAN ET AL,                    )
14                                   )
                    Defendants.      )
15   _______________________________ )         Hon. Anthony W. Ishii
                                     )
16
17
          Defendants JOSEPH NOLAN, JOSEPH TAYLOR, MARK MCGRATH, DUSTIN
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     YORK, and JEREMY DUNN by and through their attorneys, ANTHONY P.
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     CAPOZZI, MICHAEL D. NASATIR, ALLISON B. MARGOLIN, CHARLES J. LEE,
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     MONICA A. MIHELL, and JOHN FREDERICK GARLAND, and the United States
21
     of America, by and through its attorneys, BENJAMIN B. WAGNER,
22
     United States Attorney, and KAREN A. ESCOBAR, Assistant United
23
     States Attorney, hereby enter into the following stipulation:
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25
          1.    The parties to the above-captioned matter agree to vacate
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     the January 10, 2011 hearing date, previously stipulated to by all
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     parties and ordered by the Court, and reset the matter for February
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     28, 2011, at 1:30 p.m.

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1         2.    The parties stipulate that the continuance is necessary
2    to ensure defense adequate time to conduct further investigation.
3         3.    The parties further stipulate that time should be
4    excluded in the interest of justice.
5
6    DATED: January 5, 2011                        Respectfully submitted,
7                                                  BENJAMIN B. WAGNER
                                                   United States Attorney
8
                                               By: /s/ Karen A. Escobar
9                                                  KAREN A. ESCOBAR
                                                   Assistant U.S. Attorney
10
                                                   /s/ W. Michael D. Nasatir
11                                                 MICHAEL D. NASATIR
                                                   Attorney for Defendant
12                                                 JOSEPH NOLAN
13                                                 /s/ Allison B. Margolin
                                                   ALLISON B. MARGOLIN
14                                                 Attorney for Defendant
                                                   JOSEPH TAYLOR
15
                                                   /s/ W. Charles J. Lee
16                                                 CHARLES J. LEE
                                                   Attorney for Defendant
17                                                 MARK MCGRATH
18                                                 /s/ W. Monica A. Mihell
                                                   MONICA A. MIHELL
19                                                 Attorney for Defendant
                                                   DUSTIN YORK
20
                                                   /s/ W. John F. Garland
21                                                 JOHN F. GARLAND
                                                   Attorney for Defendant
22                                                 JEREMY DUNN
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1                                        ORDER
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          Having read and considered the foregoing stipulation,
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          IT IS THE ORDER of the Court that the current hearing date of
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     January 10, 2011 is hereby vacated in this matter and is reset for
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     February 28, 2011, at 1:30 p.m.
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          The Court further finds that the ends of justice served by
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     granting the requested continuance outweigh the best interests of
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     the public and the defendants in a speedy trial, in that the
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     failure to grant the continuance would deny the government and the
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     defendant an opportunity to further investigate and properly
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     negotiate.
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          WHEREFORE IT IS HEREBY ORDERED that time shall be excluded in
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     the interest of justice, pursuant to 18 U.S.C. § 3161 (h) (8) (A).
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15
     IT IS SO ORDERED.
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17   Dated:       January 7, 2011
     0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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